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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
_________________________________________
                                          )
U.S. SECURITIES AND EXCHANGE )
COMMISSION,                               )
                                          ) Civil Action No. 18-CV-5587
                    Plaintiff,            )
           v.                             )
                                          ) Judge Hon. John Z. Lee
                                          )
EQUITYBUILD, INC., EQUITYBUILD )
FINANCE, LLC, JEROME H. COHEN, )            Magistrate Judge Young B. Kim
and SHAUN D. COHEN,                       )
                                          )
                    Defendants,           )
                                    _____ )

                              NOTICE OF RESPONSE TO MOTION

TO :     See Certificate of Service Below

        Please take notice that on Wednesday March 20th, 2019 at 9:00 a.m. or as soon thereafter
as counsel may be heard, Defendants Jerome H. Cohen and Shaun D. Cohen will appear by phone
before the Honorable Judge John Z. Lee in Courtroom Number 1225, 219 South Dearborn Street,
Chicago, Illinois 60604, or before any judge who may be sitting in his place, and shall present:

      RESPONSE TO SEC’S MOTION AND BRIEF IN SUPPORT OF MOTION FOR
 DISGORGEMENT, PREJUDGMENT INTEREST, CIVIL PENALTIES, AND ENTRY OF FINAL
               JUDGEMENT AGAINST THE COHEN DEFENDANTS
March 15th, 2019
                                            Respectfully submitted,

                                            DEFENDANTS JEROME H. COHEN AND
                                            SHAUN D. COHEN
                                            By:
                                                   Shaun D. Cohen


                                                   –––––––––––––––––––




                                            By:
                                                   Jerome H. Cohen


                                                   –––––––––––––––––––
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                                     Certificate of Service

I hereby certify that a copy of the document identified in the Notice of Motion above was served

on March 15th, 2019 by filing with the Clerk of the Court using CM/ECF system, which will

send notification of such filing to counsel of record.




                                                              Shaun D. Cohen




                                                              Jerome H. Cohen
